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                                September 5, 2024

Via ECF
Honorable Mary Kay Vyskocil
United States District Judge
Southern District of New York
500 Pearl St.
New York, NY 10007-1312

      Re:   United States v. Nicole Torres, 24 Cr. 499 (MKV)

Dear Judge Vyskocil:

      I write, with the consent of the Government, to request an extension to time
by which Ms. Torres must secure one additional co-signer to her bond.

       On August 27, 2024, Ms. Torres was arrested and presented in Magistrate
Court before the Honorable Stewart D. Aaron. The parties proposed an agreed
upon bail package that was accepted by Judge Aaron. The bail conditions were
ordered to be met by September 3, 2024. Ms. Torres proposed two co-signers to her
bond, one of which was approved by the Government. The second proposed co-
signer was not approved. Ms. Torres requests one week to secure a second co-signer
that is acceptable to the Government. All other bail conditions have been met.


                                             Respectfully Submitted,

                                             /s/ Amy Gallicchio
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                                             Amy Gallicchio, Esq.
                                             Federal Defenders of New York
                                             Tel: 212-417-8728

Cc:   AUSA Rebecca Dell
      AUSA Benjamin Burkett
